Case 8:13-bk-06282-MGW Doc47_ Filed 02/20/14 Page1lof8

B? (Official Foros 73 (04/13)

United States Bankruptcy Court
Middle District of Florida
Christian E. Sanon
Inté Louise Marie Sanon CaseNo. 8:43-bk-06282
Debtor(s) Chapter 7

 

STATEMENT OF FINANCIAL AFFAIRS - AMENDED

This statement is to be completed by every debtor, Spouses filing a joint petition may file a single statement on which the information for
both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or
not a joint petition is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole
proprietor, partner, family farmer, or self-employed professional, should provide the information requested on this statement concerning all such
activities as well as the individual's personal affairs. To indicate payments, transfers and the like to minor children, state the child’s initials and the
name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11
U.S.C. § 112; Fed. R. Bankr. P. £607(m).

Questions | - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete
Questions 19 - 25, If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the answer
to any question, use and aitach a separate sheet properly identified with the case name, case number (if known), and the number of the question,

DEFINITIONS

“in business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in
business" for the purpose of this form if the debtor is or has been, within six years immediately preceding the filing of this bankruptcy case, any of
the following: an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a partner,
other than a limited partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individuat debtor also may be “in
business” for the purpose of this form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement income
from the debtor's primary employment.

“Insider.” The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives:
corporations of which the debtor is an officer, director, or person in control; officers, directors, and any persons in control of a corporate debtor and
their relatives; affiliates of the debter and insiders of such affiliates: and any managing agent of the debtor. 11 U.S.C. § 101{2), G1}.

 

1. Income from employment or operation of business

None State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's
O business, including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar
year to the date this case was commenced. State also the gross amounts received during the two years immediately preceding this
oalendar year. {A debtor that maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may
report fiscal year income. Identify the beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for
each spouse separately, (Married debtors filing under chapter 12 or chapter 13 must state income of both spouses whether or nota joint
petition is filed, unless the spouses are separated and a joint petition is not filed.)

AMOUNT SOURCE

$25,000.00 2013 YTD: Husband New Hope Cancer Centers Inc/Rome Foundation
$66,000.00 2012: Husband New Hope Cancer Centers Inc/Rome Foundation
$66,000.60 2611: Husband New Hope Cancer Centers Inc/Rome Foundation

Sofware Copyright (c) 1996-2014 Best Gase, LLC - www.bestease.com Best Case Bankruptcy

 
Case 8:13-bk-06282-MGW Doc47_ Filed 02/20/14 Page 2of8

B? (Official Form 7) (04/13)

 

 

 

2
2. Income other than from employment or operation of business
None State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor's business
QO during the two years immediately preceding the commencement of this case. Give particulars, If a joint petition is filed, state income
Pp J
for each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a
joint petition is filed, unless the spouses are separated and a joint petition is not filed.}
AMOUNT SOURCE
$3,550.00 2013 YTD: Wife Social Security for Daughter
$8,520.00 2072: Wife Social Security for Daughter
$8,520.00 2011: Wife Social Security for Daughter
3. Payments to creditors
None — Camplete a. or b., as appropriate, and ¢.
@
a. fedividual or joint debtor(s} with primarily consumer debis: List all payments on loans, installment purchases of goods or
services, and other debts to any creditor made within 90 days immediately preceding the commencement of this case unless the
aggregate value of all property that constitutes or is affected by such transfer is less than $600. Indicate with an asterisk (*) any
payments that were made to a creditor on account of a domestic support obligation or as part of an altemative repayment schedule under
a plan by an approved nonprofit budgeting and credit counseling ageacy. (Married debtors filing under chapter 12 or chapter 13 must
include payments by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is
not filed.)
NAME AND ADDRESS DATES OF AMOUNT STILL
OF CREDITOR PAYMENTS AMOUNT PAID OWING
None b, Debtor whose debts are not primarily consumer debis: List each payment or other transfer to any creditor made within 90 days
Es immediately preceding the commencement of the case unless the aggregate value of all property that constitutes or is affected by such
transfer is less than $6,225", If the debtor is an individual, indicate with an asterisk (*} any payments that were made to a creditor on
account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit
budgeting and credit counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments and other
transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
filed.)
AMOUNT
DATES OF PAID OR
PAYMENTS/ VALUE OF AMOUNT STILL
NAME AND ADDRESS OF CREDITOR TRANSFERS TRANSFERS OWING
None ¢. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of
Ea creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both
spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.}
NAME AND ADDRESS OF CREDITOR AND AMOUNT STILL
RELATIONSHIP TO DEBTOR DATE OF PAYMENT AMOUNT PAID OWING
4, Suits and administrative proceedings, executions, garnishments and attachments
None a, List all suits and administrative proceedings to which the debtor ts or was a party within one year immediately preceding the filing of
this bankruptcy case, (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses
whether o7 not a foint petition is filed, unless the spouses are separated and a joint petition is not filed.)
CAPTION OF SUIT NATURE OF COURT OR AGENCY STATUS OR
AND CASE NUMBER PROCEEDING AND LOCATION DISPOSITION
Wells Fargo Bank NA v.s Christian E. Sanon,et Foreclosure Thirteenth Judicial Circuit Court Judgment -
al. Hillsborough County, Florida FC Sale
Case No.: 2009-CA-032880 §,10,.13
Midland Funding LLc vs. Christian E. Sanon Contract County Court Pending
Case No.: 10-088895-CC Hillsborough County, Florida

* Amount subject ta adjustment on 4/01/16, and every three years thereafler with respect to cases commenced on or after the date of adjustment.

Software Copyright(c} 1996-2014 Best Case, LLC - www.bestcase.com Best Case Bankruptcy
Case 8:13-bk-06282-MGW Doc47_ Filed 02/20/14 Page 3of8

B? (Officiat Form 7} (04/13)

 

3
None _b, Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately
Ei preceding the commencement of this case, (Married debtors filing under chapter 12 or chapter 13 must include information concerning
property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
filed.}
NAME AND ADDRESS OF PERSON FOR WHOSE DESCRIPTION AND VALUE OF
BENEFIT PROPERTY WAS SEIZED DATE OF SEIZURE PROPERTY
§. Repossessions, foreclosures and returns
Nore List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or
O returned to the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter [2
or chapter [3 must include information concerning property of either or both spouses whether or not a joint petition is filed, unless the
spouses are separated and a joint petition is not filed.)
DATE OF REPOSSESSION,
NAME AND ADDRESS OF FORECLOSURE SALE, DESCRIPTION AND VALUE OF
CREDITOR OR SELLER TRANSFER OR RETURN PROPERTY
Carrington/Wells Fargo May 2013 Real Property located at: 1213 Belladonna Drive,
cio SHD Law Group Brandon, FL 33510
2691 E. Oakland Park Foreclosure Sale - Order Vacated
Ste 100

Fort Lauderdale, FL 33306

 

6. Assignments and recciverships

None a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of

| this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a
joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 

DATE OF
NAME AND ADDRESS OF ASSIGNEE ASSIGNMENT TERMS OF ASSIGNMENT OR SETTLEMENT
None —_b, List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately
i preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information conceming
property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
filed.)
NAME AND LOCATION
NAME AND ADDRESS OF COURT DATE OF DESCRIPTION AND VALUE OF
OF CUSTODIAN CASE TITLE & NUMBER ORDER PROPERTY
7. Gifts
None

List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary
Gi and usual gifis to family members aggregating less than $200 in value per individual family member and chantable contributions
aggregating less than $100 per reciptent, (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by
either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 

NAME AND ADDRESS OF RELATIONSHIP TO DESCRIPTION AND
PERSON OR ORGANIZATION DEBTOR, IF ANY DATE OF GIFT VALUE OF GIFT
8. Losses
None

List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or
gi since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both
spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.}

DESCRIPTION OF CIRCUMSTANCES AND, IF

DESCRIPTION AND VALUE LOSS WAS COVERED IN WHOLE OR IN PART
OF PROPERTY BY INSURANCE, GIVE PARTICULARS DATE OF LOSS

Software Copyright(c) 1996-2014 Best Gese, LLC - wew,bestcase.com Bes} Case Bankruptcy
Case 8:13-bk-06282-MGW Doc47_ Filed 02/20/14 Page4of8

B7 (Official Fonn 7) (04/13)

 

4
9, Payments related to debt counseling or bankruptcy
None List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation
Oo conceming debt consolidation, relief under the bankruptcy law or preparation of the petition in bankruptcy within one year immediately
preceding the commencement of this case.
DATE OF PAYMENT, AMOUNT OF MONEY
NAME AND ADDRESS NAME OF PAYER IF OTHER OR DESCRIPTION AND VALUE
OF PAYEE THAN DEBTOR OF PROPERTY
CHRISTIE D. ARKOVICH, P.A. May 2013 Attorney Fees & Costs
1520 W. Cleveland St. $1,950.00 Filing Fees $306.00
Tampa, FL 33606
Family Life Resources May 2013 Credit Counseling $50.00

5862 E. Fowler Avenue
Tampa, FL 33617

 

10, Other transfers

None a. List alf other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor,
a transferred either absolutely or as security within two years immediately preceding the commencement of this case. (Married debtors
filing ander chapter 12 or chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the
spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS OF TRANSFEREE, DESCRIBE PROPERTY TRANSFERRED
RELATIONSHIP TO DEBTOR DATE AND VALUE RECEIVED

None —_b, List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled
EE trust or similar device of which the debtor is a beneficiary.

NAME OF TRUST GR OTHER AMOUNT OF MONEY OR DESCRIPTION AND
DEVICE DATE(S) OF VALUE OF PROPERTY OR DEBTOR'S INTEREST
TRANSFERS) IN PROPERTY

 

it. Closed financial accounts

None List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or
a otherwise transferred within ane year immediately preceding the commencement of this case. Include checking, savings, or other
financial accounts, certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds,
cooperatives, associations, brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must
include information conceming accounts or instruments held by or for either or both spouses whether or not a joint petition is filed,
unless the spouses are separated and a joint petition is not filed.)

TYPE OF ACCOUNT, LAST FOUR
DIGITS OF ACCOUNT NUMBER, AMOUNT ANB DATE OF SALE

NAME AND ADDRESS OF INSTITUTION AND AMOUNT OF FINAL BALANCE OR CLOSING

 

12. Safe deposit boxes

None List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year

 

& immediately preceding the commencement of this case. (Married debtors filing under chapter [2 or chapter 13 must include boxes or
depositories of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
filed.)

NAMES AND ADDRESSES
NAME AND ADDRESS OF BANK OF THOSE WITH ACCESS DESCRIPTION DATE OF TRANSFER OR
OR OTHER DEPOSITORY TO BOX GR DEPOSITORY OF CONTENTS SURRENDER, IF ANY
13. Setoffs

Nowe List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the
a commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both
spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

Software Copyright (c} 1996-2014 Best Case, LLC - www.hestcase.com Best Case Bankruptcy
Case 8:13-bk-06282-MGW Doc47_ Filed 02/20/14 Page5of8

B7 Official Form 7) (04/] 3}
5

NAME AND ADDRESS OF CREDITOR DATE OF SETOFF AMOUNT OF SETOFF

 

14. Property held for another person

None List all property owned by another person that the debtor holds or controls.

NAME AND ADDRESS OF OWNER DESCRIPTION AND VALUE OF PROPERTY LOCATION OF PROPERTY

 

145. Prior address of debtor

None if the debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor
QO occupied during that period and vacated prior to the commencement of this case, If a joint petition is filed, report also any separate
address of either spouse,

ADDRESS NAME USED DATES OF OCCUPANCY
1213 Belladonna Drive, Brandon, FL. 33516 Christian E. Sanon duly 2012 to May 2013

 

16. Spouses and Former Spouses

None If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, Califomia,
Bi Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the
commencement of the case, identify the name of the debtor's spouse and of any former spouse who resides or resided with the debtor in
the community property state.

NAME

 

17, Environmental Information.
For the purpose of this question, the following definitions apply:

"Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous
or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not Hmited
to, statutes or regulations regulating the cleanup of these substances, wastes, or material.

“Sie means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly owned or
operated by the debtor, including, but not limited to, disposal sites.

“Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material,
. ¥ v
pollutant, or contaminant or similar term under an Environmental Law

None a, List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be
i liable or potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if
known, the Environmental Law:

NAME AND ADDRESS OF DATE OF ENVIRONMENTAL
SITE NAME AND ADDRESS GOVERNMENTAL UNIT NOTICE LAW
None —b, List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous
Pe Material. Indicate the governmental unit to which the notice was sent and the date of the notice,
NAME AND ADDRESS OF DATE OF ENVIRONMENTAL
SITE NAME AND ADDRESS GOVERNMENTAL UNIT NOTICE LAW
None — ¢. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which
Be the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the
docket number.
NAME AND ADDRESS OF
GOVERNMENTAL UNIT DOCKET NUMBER STATUS OR DISPOSITION

Software Copyright (c} 1996-2044 Best Casa, LLG - wwwbesicase.com Best Case Bankruptcy
Case 8:13-bk-06282-MGW Doc47_ Filed 02/20/14 Page 6of8

B? (Official Form 7) {04/13}
6

 

18. Nature, location and name of business

None a, If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
0 ending dates of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner ina
partnership, sole proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within six years
immediately preceding the commencement of this case, or in which the debtor owned § percent or more of the voting or equity
securities withint six years immediately preceding the commencement of this case.

ifthe debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
ending dates of all businesses in which the debtor was a parmer or owned 5 percent or miore of the voting or equity securities, within six
years immediately preceding the commencement of this case.

ff the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six
years immediately preceding the commencement of this case.

LAST FOUR DIGITS OF
SOCIAL-SECURITY OR
OTHER INDIVIDUAL

TAXPAYER-LD, NO. BEGINNING AND
NAME (ITINVY COMPLETE BIN ADDRESS NATURE OF BUSINESS ENDING DATES
Organization Rome Tabarre, Haiti Non-Government President 2001 -
Haiti Organization of Haiti Present
Radio-Tele Vasco, SA Tabarre, Haiti Communication President 2006 -
Present
Tabarre Evangelical 6509 Tabarre, Haiti Church Pastor 1999 - Present

Tabernacle

None __b. Identify any business listed in response to subdivision a., above, that is "single asset real estate” as defined in FE U.S.C. § 101.

NAME ADDRESS

 

The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has
been, within six years immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or
owner of more than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership, a sole
proprietor, or self-employed in a trade, profession, or other activity, either full- or part-time.

(An individual or joint debtor should complete this partion of the statement only if the debtor is or has been in business, as defined above,
within six years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go
directly to the signature page.)

 

19. Books, records and financial statements

None a. List all bookkeepers and accountants who within two years immediately preceding the filing of this bankruptcy case kept or
supervised the keeping of books of account and records of the debtor.

NAME AND ADDRESS DATES SERVICES RENDERED
Frederick J. Berginann, CPA

4613 N. Clark Avenue
Tampa, FL 33614

None hb. List all firms or individuals who within the twe years immediately preceding the filing of this bankruptcy case have audited the
Ei books of account and records, or prepared a financial statement of the debtor.

NAME ADDRESS DATES SERVICES RENDERED

None c. List all flems or individuals who at the time of the commencement of this case were in possession of the books of account and records
& of the debtor. If any of the books of account and records are not available, explain.

Software Copyright(c} 1996-2014 Best Case, LLC - waww.bestcase.com Best Case Bankruptcy
Case 8:13-bk-06282-MGW Doc47_ Filed 02/20/14 Page /7of8

B7 (Official Form 7) (04/13)

+
NAME ADDRESS
None — d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a financial statement was
EE issued by the debtor within two years immediately preceding the commencement of this case.
NAME AND ADDRESS DATE ISSUED

 

26. Inventories

None a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory,
Ee and the dollar amount and basis of each inventory.

DOLLAR AMOUNT OF INVENTORY
DATE OF INVENTORY INVENTORY SUPERVISOR (Specify cost, market or other basis)

None . List the name and address of the person having possession of the records of each of the inventories reported in a., above.

NAME AND ADDRESSES OF CUSTODIAN OF INVENTORY
DATE OF INVENTORY RECORDS

 

21. Current Partners, Officers, Directors and Sharcholders

None a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.
Ei

NAME AND ADDRESS NATURE OF INTEREST PERCENTAGE OF INTEREST

None —_b, If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns,
& controls, or holds 5 percent or more of the voting or equity securities of the corporation.

NATURE AND PERCENTAGE
NAME AND ADDRESS TITLE OF STOCK OWNERSHIP

 

22. Former partners, officers, directors and shareholders

None a, If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately preceding the

4 commencement of this case.
NAME ADDRESS DATE OF WITHDRAWAL
None b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated within one year
immediately preceding the commencement of this case,
NAME AND ADDRESS TITLE DATE OF TERMINATION

 

23. Withdrawals from a partnership or distributions by a corporation

None Hf the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation
a in any form, bonuses, loans, stock redemptions, options exercised and any other perquisite during one year immediately preceding the
commencement of this case.

NAME & ADDRESS AMOUNT OF MONEY
OF RECIPIENT, DATE AND PURPOSE OR DESCRIPTION AND
RELATIONSHIP TO DEBTOR OF WITHDRAWAL VALUE OF PROPERTY

Software Copyright (c} 1996-2014 Best Case, LLC - www.bestcdsé.com Best Case Bankruptcy
 
